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Dated: April 30, 2019
The following is ORDERED:




                                           Tom R. Cornish
                                           U.S. Bankruptcy Judge
 __________________________________________________________________



                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF OKLAHOMA


IN RE:
ALEXANDER LOUIS BEDNAR                              Case No. 15-11916-TRC
                                                    Chapter 7

                             Debtor.

ALEXANDER L. BEDNAR,

                             Plaintiff,

vs.                                                 Adv. No. 18-01096-TRC

FRANKLIN AMERICAN MORTGAGE
COMPANY, FEDERAL NATIONAL
MORTGAGE ASSOCIATION,
OKLAHOMA COUNTY SHERIFF,
AND RCB BANK,

                             Defendants.


                 ORDER DENYING PLAINTIFF’S MOTIONS TO SEAL

       Before the court are two motions to seal filed by Plaintiff Alexander L. Bednar. He filed

a handwritten motion on March 15, 2019 (Docket Entry 63) and a second motion on March 26,
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2019 (Docket Entry 65) which appears to supercede or supplement the first motion. Both

motions ask this court to seal Exhibit 1 to his Motion for Stay, Preliminary Injunction Pending

Appeal and Consideration of Sanctions Against Fannie Mae and Franklin American for

Inappropriate Actions Regarding a Subpoena (Docket Entry 62). Defendants Franklin American

Mortgage Company and Federal National Mortgage Association (“Fannie Mae”) filed an

objection to the motions to seal (Docket Entry 75).

       The document Bednar asks this court to seal is a settlement agreement that he executed

with RCB Bank in a separate proceeding: Adv. Case No. 15-1248 RCB Bank v. Bednar. The

original agreement was a handwritten document drafted and signed in March of 2017 after a

settlement conference was held. Months went by before the formal agreement was executed,

which only occurred after this court held a status hearing on September 6, 2017, regarding the

settlement agreement. The court notes that Bednar asked this court to seal this document during

that status hearing. The court expressed its reluctance to seal this agreement and ordered Bednar

to sign the settlement agreement.

       Section 107(a) of the U.S. Bankruptcy Code states that all bankruptcy records are public,

subject to certain exceptions. Section 107(b) allows a court to take action to (1) protect an entity

with respect to a trade secret or confidential research, development, or commercial information,

or (2) protect a person regarding scandalous or defamatory matter in a paper filed in a bankruptcy

case. Fed. R. Bankr. P. 9018 implements § 107(b) and adds that a court may seal documents to

protect governmental matters that are made confidential by statute. Bednar argues that his

settlement agreement with RCB Bank includes confidentiality as a material term and should

therefore be filed under seal so that access to this document is denied. Defendants Franklin

American and Fannie Mae object to sealing this exhibit on the ground that Bednar is attempting
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to rely upon this exhibit to obtain a stay of the bankruptcy case pending appeal as well as relying

upon this settlement as cause supporting his attempts to avoid and set aside state court

foreclosure actions against him. Bednar represents that RCB Bank does not object to sealing this

exhibit.

       During hearings and in filings with this court, it is Bednar who has put the terms of this

agreement at issue in this case. Bednar has alleged that RCB Bank failed to comply with all

terms of the agreement, that RCB Bank and Franklin American and Fannie Mae have conspired

against him regarding the enforcement of the agreement and are in breach of the agreement, and

requests that this court enforce the settlement agreement by ordering RCB Bank to complete the

agreement. Bednar has disclosed most of the terms of this agreement to the court and Defendants

including the requirement for a conveyance of a deed to Bednar from RCB Bank. He also

informed this court that he has provided emails between himself and RCB Bank regarding the

settlement agreement to the BAP. In addition, Bednar has not identified the existence of any of

the conditions identified in § 107(b) or Rule 9018. Therefore, the court does not find good cause

to seal exhibit 1, the settlement agreement with RCB Bank.

       IT IS THEREFORE ORDERED that Plaintiff Alexander L. Bednar’s Motion to Seal filed

on March 15, 2019 (Docket Entry 63) and Motion to Seal filed on March 26, 2019 (Docket Entry

65) are denied.

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